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UNITED sTA TES DISTRICT coURT :»“n.::z:_;_) 45 ,
WESTERN DISTRICT 0F TENNESSEE 33 4 344 4
WES TERN DIVISIoN

 

 

 

MARVIN L . RAINER JUDGMENT IN A CIVIL CASE
v l
BRUCE WESTBROOK'S , et al . CASE NO : 0 4 - 2 2 9 6 -D

 

DECISION BY COURT. ‘I‘his action came to consideration before the

Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order Of
Dismissal entered on.May 18l 2005, this cause is hereby dismissed.

APPROVED '

    

 

TED STATES DISTRICT COURT

/ HGBERT R_ m memo

 

at Clerk of Court

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(By}/ Ddbuty cl@rk

 

Thfs document entered on the docket sheet6 in co fpl|ance
with mule 53 and!or 19(a) FRCP on 5 S’OJ

 

 

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This notice confirms a copy of the document docketed as number 52 in
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Marvin L. Rainer
W.T.S.P.

332114

P.O. Box 1150

Henning, TN 38041--115

Arthur CroWnover

OFFICE OF THE ATTORNEY GENERAL
P.O. Box 20207

Nashville, TN 37202--020

Honorable Bernice Donald
US DISTRICT COURT

